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                                       EXHIBIT C




DOCS_DE:238911.2 05233/003
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 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 Art Van Furniture, LLC                                                                                          U.S. Bankruptcy Court
                                                                                                                           District of Delaware
 Debtor 2
 (Spouse, if filing)                                                                                                             6/16/2020
 United States Bankruptcy Court           District of Delaware                                                             Una O'Boyle, Clerk
 Case number: 20−10553


Official Form 410
Proof of Claim                                                                                                                                    04/19

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            Lynns Furniture, LLC and AV215, LLC
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               Lynns Furniture, LLC and AV215, LLC                            Craig Scott Lynn

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  Michael Busenkell                                              1250 Meadowbrook Drive
                                  1201 North Orange Street, Suite 300
                                  Wilmington, DE 19801
                                                                                                 Crown Point, IN 46307

                                  Contact phone              302−416−3344                        Contact phone

                                  Contact email                                                  Contact email
                                          mbusenkell@gsbblaw.com                                        slynn@artvanportage.com

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
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Part 2: Give Information About the Claim as of the Date the Case Was Filed
6.Do you have any                   No
  number you use to                 Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $       245400.00                      Does this amount include interest or other charges?
  claim?                                                               No
                                                                       Yes. Attach statement itemizing interest, fees, expenses, or
                                                                       other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                                  Rejection of Franchise Agreement


9. Is all or part of the           No
   claim secured?                  Yes. The claim is secured by a lien on property.
                                    Nature of property:
                                        Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                       Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                        Motor vehicle
                                        Other. Describe:           secured to the extent of setoff


                                     Basis for perfection:                     see other

                                     Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                     interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                     document that shows the lien has been filed or recorded.)

                                     Value of property:                        $

                                     Amount of the claim that is               $      245400.00
                                     secured:
                                     Amount of the claim that is               $         0.00                       (The sum of the secured and
                                     unsecured:                                                                     unsecured amounts should
                                                                                                                    match the amount in line 7.)


                                     Amount necessary to cure any default as of the                     $
                                     date of the petition:

                                     Annual Interest Rate (when case was filed)                         0.00        %
                                           Fixed
                                           Variable
10.Is this claim based on            No
   a lease?                          Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to          No
   a right of setoff?                Yes. Identify the property:




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12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,025* of deposits toward purchase, lease, or rental of                    $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $13,650*) earned within                    $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/1/22 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                6/16/2020

                                                                 MM / DD / YYYY


                                 /s/ Craig Scott Lynn

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                     Craig Scott Lynn

                                                                         First name       Middle name          Last name
                                 Title

                                 Company                                  Lynn's Furniture, LLC & AV215, LLC

                                                                         Identify the corporate servicer as the company if the authorized agent is a
                                                                         servicer
                                 Address                                  1250 Meadowbrook Drive

                                                                         Number Street
                                                                          Crown Point, IN 46307

                                                                         City State ZIP Code
                                 Contact phone                                                  Email         slynn@artvanportage.com


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                                ADDENDUM TO PROOF OF CLAIM

  I.     NOTICE RESPECTING THIS CLAIM

            In addition to the name and address provided on the attached Proof of Claim form, all
    notices with respect to any claim of Lynn’s Furniture, LLC and AV215, LLC (“Claimants”) must
    be served upon the following:

       Gellert Scali Busenkell & Brown, LLC         Lynn’s Furniture, LLC & AV215, LLC
       Attn: Michael Busenkell, Esq.                Attn: Craig Scott Lynn
       1201 N. Orange St., Ste. 300                 1250 Meadowbrook Drive
       Wilmington, DE 19801                         Crown Point, IN 46307


 II.     NATURE OF CLAIM

           Claimants assert a claim (“Claim”) against the Debtors, Art Van Furniture, LLC, et al.
   (the “Debtors”), in an amount not less than $245,400 based on rejection of that certain
   franchise agreement (the “Franchise Agreement”). In rejecting the Franchise Agreement,
   Claimants have incurred damages in the amount of $245,400 based on losses outlined in Exhibit
   A.
           By filing this Proof of Claim, Claimants reserve all rights against the Debtors. Among
   other things, Claimants preserve any and all rights they have to taxes, fees, expenses, costs,
   damages and/or other charges owed. Nothing in this Addendum or the accompanying Proof of
   Claim limits Claimants’ rights.

III.     CLASSIFICATION OF CLAIMS

            Claimants’ Claim is a general unsecured claim for the damages resulting from breach of
    contract by virtue of the rejection of the Franchise Agreement; however, it is secured to the extent
    of setoff.

IV.      SUPPORTING DOCUMENTS

             The documents upon which the Claim is based include, among other things, the itemized
    list of amounts due attached as Exhibit A.

 V.      NO SETOFF

           To the best of Claimants’ knowledge, the claim set forth in this Proof of Claim is not subject
    to any valid setoff or counterclaim by the Debtors; provided, however, that any setoff or
    recoupment rights that the Claimants may possess are expressly reserved and are not waived.




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 VI.       ADMINISTRATIVE EXPENSE CLAIMS

               This Proof of Claim is without prejudice to other claims, if any, that the Claimants have or
        may have for payment of any administrative expense allowable under Section 503(b) of the
        Bankruptcy Code or otherwise with respect to any transaction, whether or not such amounts are
        included in this Proof of Claim, and the right to file such claim or any similar claim at an
        appropriate time is expressly reserved.

VII.       ADDITIONAL PROOFS OF CLAIM

             This Proof of Claim is filed without prejudice to the filing by, or on behalf of, the Claimants
     of additional proofs of claim with respect to any other liability or indebtedness of the Debtors. All
     procedural and substantive defenses and rights with respect to any claim that may be asserted
     against the Claimants by the Debtors or any other party in interest in these bankruptcy cases or
     otherwise, or by any other person or entity whatsoever, are specifically preserved.

VIII.      NO WAIVER

            Filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or release
    of the Claimants’ rights against any other entity or person liable for all or part of any claim
    described herein; (b) a waiver of the right to seek to have the reference withdraw with respect to
    (i) the subject matter of these claims, (ii) any objection or other proceedings commenced with
    respect thereto, or (iii) any other proceedings commenced in these cases against or otherwise
    involving the Claimants; (c) a waiver of any right to the subordination, in favor of the Claimants,
    of indebtedness or liens held by creditors of the Debtors; or (d) an election of remedy which waives
    or otherwise affects any other remedy of the Claimants.

 IX.       RESERVATION OF RIGHTS

            This Proof of Claim is filed with full reservation of rights, including the right to assert
    additional, supplementary and/or amended proofs of claim and requests for administrative expense
    reimbursements based on events, information and/or documents obtained from the Debtors or
    others through discovery or otherwise. Without in any way limiting the foregoing, the Claimants’
    rights to assert any claim they may have against the Debtors, or against any other party or property
    other than the Debtors and their estates, are expressly reserved. This Proof of Claim is conditional
    only and is not intended, nor should it be construed as the Claimants’ consent to jurisdiction in the
    District of Delaware, or as a waiver of the Claimants’ right to a trial by jury in any action or
    proceeding.




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                                   Exhibit A
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                                  Lynn’s Furniture and AV215 LLC’s Damages
Damages Incurred           Loss Valuation Explanation                                     Value of Loss
Lost Profits               Art Van cut off supply of goods when Claimants had an entire   $26,400.00
                           truckload sold. Lost Sales were $60,000. Gross profit of
                           $26,400 was lost.
                           As a result of the rejection of the Franchise Agreement, $100,000.00
                           AV215LLC must liquidate the Art Van exclusive inventory at a
                           discount. The retail value for the exclusive AVF inventory is
                           $275,000; the discounted value is $175,000, for a loss of
                           $100,000.
Losses      based    in Claimants are unable to enjoy the use of Exterior Signage $24,000.00
                                                                                                          Case 22-50325-CTG




Detrimental Reliance on purchased based on detrimental reliance for $40,000 to last the
Franchise Agreement     full 10-year term of the Franchise Agreement. As a result of the
                        rejection of the Franchise Agreement by the AV215LLC lost
                        approximately $24,000.
                                                                                                          Doc 1-3




                           Unable to enjoy the use of Art Van Exclusive Point of Sale $12,000.00
                           System for the full 10-year term agreement AV215LLC paid
                           $20,000 for 10-year term of agreement. As a result of the
                           rejection of the Franchise Agreement by Art Van, Claimants
                           were only able to use it for 4 years. Loss value of 6 years for a
                           loss of $12,000.
                                                                                                          Filed 05/09/22




Advertising paid to Debtors 1% of written sales collected from Jan 2016 – March 2020 for $83,000.00
in the National Marketing the National Marketing Fund and remitted to the Debtor for
Fund but not spent on advertising but that was not spent on such advertising.
Advertising
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                                                                             Total:        $245,400
